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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                   Honorable Jose L.      Linares

            v.                             Criminal No.     12-312(JLL)

JORGE ANTONIO VILLASANO                    ORDER FOR CONTINUANCE


            This matter having come before the Court on the joint

application of Paul J. Fishman, United States Attorney for
                                                           the
District of New Jersey (Frances C. Bajada, Assistant United

States Attorney appearing), and the defendant Jorge Anton
                                                          io
Villasano (Tom Stanley, Esq., appearing),           for an order granting a
continuance of the proceedings in the above-captioned matter,
                                                              and
the defendant being aware that he has the right to have the

matter brought to trial within 70 days of the date of his

appearance before a judicial officer of this court pursuant to

Title 18, United States Code, Section 3161(c) (1), and the

defendant having consented to such a continuance, and it

appearing that the defendant waives such right, and for good
                                                             and
sufficient cause shown,

            IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

            (1)   The discovery in this case involves audio

recordings that defense counsel requires adequate time to review
                                                                 ,
thus taking into account the exercise of diligence, the
                                                        facts of
this case require that defense counsel be permitted a reason
                                                             able
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amount of additional time for effective preparation in this

matter;

           (2)   Plea negotiations are currently in progress, and

both the United States and the defendant desire additional time

to negotiate a plea agreement, which would render trial of this

matter unnecessary; and

           (3)   As a result of the foregoing, pursuant to Title

18, United States Code,       Section 3161(h) (7),        the ends of justice

served by granting the continuance outweigh the best interest of

the public and the defendant in a speedy trial.

           IT IS,   therefore, on this       f      day of October 2012,

           ORDERED that this action be, and hereby is,                continued

until December 17,       2012; and it is further

           ORDERED that the period from the date of this order

through December 17,       2012 shall be excludable in computing time

under the Speedy Trial Act of 1974.




                                                    JOSE L. LINARES
                                                 States District Judge




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 Form and entry
 o s td\to:



 Frances C, Baada
 Assistant U.S. Attorney




 Torn Stanley
 Counsel for the defendant Jorge Antonio Villasano




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